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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 17-1021V
                                      Filed: October 1, 2018
                                       Not to be published

*************************************
KEVIN McKENNA,                              *
                                            *
               Petitioner,                  *
                                            *
 v.                                         *     Tdap vaccination; shoulder injury,
                                            *     necrotizing fasciitis; arm and shoulder
SECRETARY OF HEALTH                         *     amputation; respondent agrees
AND HUMAN SERVICES,                         *     compensation is appropriate.
                                            *
               Respondent.                  *
                                            *
*************************************
Michael T. Ratton, Royal Oak, MI, for petitioner.
Debra A. Filteau Begley, Washington, DC, for respondent.

MILLMAN, Special Master

                                   RULING ON ENTITLEMENT1

         On July 28, 2017, petitioner filed a petition under the National Childhood Vaccine Injury
Act, 42 U.S.C. § 300aa-10-34 (2012), alleging that tetanus-diphtheria-acellular pertussis
(“Tdap”) vaccine administered to his left deltoid on September 15, 2015 caused him achiness,
cellulitis in his left upper extremity, necrotizing fasciitis, and left arm and shoulder amputation.
Pet. at ¶¶ 5, 7, 11, 15, 20, 24.

        On October 1, 2018, respondent filed a Rule 4(c) Report stating his “opinion is that this

1
 Because this unpublished ruling on entitlement contains a reasoned explanation for the special master’s
action in this case, the special master intends to post this unpublished ruling on entitlement on the United
States Court of Federal Claims’ website, in accordance with the E-Government Act of 2002, 44 U.S.C. §
3501 note (2012) (Federal Management and Promotion of Electronic Government Services). This means
the ruling will be available to anyone with access to the Internet. Vaccine Rule 18(b) states that all
decisions of the special masters will be made available to the public unless they contain trade secrets or
commercial or financial information that is privileged and confidential, or medical or similar information
whose disclosure would constitute a clearly unwarranted invasion of privacy. When such a ruling on
entitlement is filed, petitioner has 14 days to identify and move to redact such information prior to the
document’s disclosure. If the special master, upon review, agrees that the identified material fits within
the banned categories listed above, the special master shall redact such material from public access.
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case is appropriate for compensation under the terms of the Vaccine Act.” Resp’t’s Rep. at 1, 5-
6. Respondent recommends further proceedings to determine damages. Id. at 6. Respondent
lists the items of proof from petitioner respondent needs to help determine appropriate
compensation, including whether or not petitioner has received workers compensation. This case
is now in damages.

       Considering the gravity of petitioner’s injuries, the undersigned awards $250,000.00 in
pain and suffering which will be part of a forthcoming award of damages when the other items of
damage are determined.

        Petitioner shall file a status report by October 31, 2018 on the progress he has made in
providing all the information respondent requests and making a demand on respondent. When
petitioner makes a demand on respondent, petitioner shall file a separate status report on the day
he has made the demand.


IT IS SO ORDERED.


Dated: October 1, 2018                                        /s/ Laura D. Millman
                                                                  Laura D. Millman
                                                                  Special Master




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